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                         IN THE UNITED STATES DISTRICT COURT

                             DISTRICT OF UTAH, CENTRAL DIVISION

                                 :
  NATHAN W. HANKS and REALSOURCE :
  EQUITY SERVICES, LLC,          :
                                 :
             Plaintiffs,         :                      Case No. 2:19-cv-00999-DBB
                                 :
       vs.                       :                     THIRD AMENDED COMPLAINT
                                 :                         (Jury Trial Demanded)
  MICHAEL S. ANDERSON, AKA       :
  PARTNERS, LC, KENT ANDERSON,   :
  MICHAEL HOWARD, and GREENFILL  :                         Judge David B. Barlow
  WOODLAND CREEK APTS, LLC,      :

                  Defendants.



          Plaintiffs allege the following:

                                             PARTIES

          1.     Plaintiff Nathan W. Hanks (“Mr. Hanks”) is a resident of Wasatch County,

  Utah.

          2.     Plaintiff RealSource Equity Services, L.L.C. (“RealSource”), is a Utah

  limited liability company with its principal place of business in Salt Lake County, Utah.

          3.     Defendant Michael S. Anderson is a resident of Salt Lake County, Utah.
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         4.     Defendant AKA Partners, LC, is a limited liability company organized and

  formed under the laws of the State of Utah, with its principal place of business in Salt

  Lake County, Utah

         5.     Defendant Kent Anderson is a resident of Salt Lake County, Utah.

         6.     Defendant Michael Howard is a resident of Colorado Springs, Colorado.

         7.     Defendant GreenFill Woodland Creek Apts, LLC (“GreenFill Woodland”),

  is a limited liability company is a limited liability company organized and formed under

  the laws of the State of Utah, with its principal place of business in Salt Lake County,

  Utah

                                       BACKGROUND

         8.     Mr. Anderson, as seller, and Mr. Hanks, as buyer, entered into a

  Membership Interests Purchase Agreement effective as of January 1, 2018 (the

  “Agreement”).

         9.     Messrs. Hanks and Anderson each owned 50% of the issued and

  outstanding membership interests in RealSource.         Pursuant to the Agreement, Mr.

  Hanks purchased Mr. Anderson’s 50% interest in RealSource, as well as certain

  membership interests in other RealSource related limited liability companies.

         10.    As of the effective date of the Agreement, RealSource was, and continues

  to be, in the business of sponsoring and managing diversified real estate

  investments for investors and institutions seeking strong stable returns. Relying on its

  30 year track record in commercial real estate investing, RealSource and its clients




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  have acquired more than $950 million of real estate in conjunction with its investors via

  direct real estate transactions.

         11.      RealSource has confidential client lists (referred to as the “Client Lists”) of

  approximately 900+ investors who participate in RealSource’s direct investments in real

  estate.

                                     JURISDICTION AND VENUE

         12.      This Court has personal jurisdiction over this action based on the parties’

  agreement that the exclusive jurisdiction for any dispute relating to the Agreement shall

  be the state and federal courts located in Salt Lake County, Utah. Agreement ¶ 10.9(c).

         13.      This Court has federal question jurisdiction over this action pursuant to 28

  U.S.C. § 1331.

         14.      The parties agreed that the exclusive jurisdiction for any dispute relating to

  the Agreement shall be the state and federal courts located in Salt Lake County, Utah.

  Agreement ¶ 10.9(c).

         15.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391.

                              FIRST CLAIM FOR RELIEF
        (Against Michael Anderson for Breach of the Non-Competition and Non-
                      Solicitation Provisions of the Agreement)

         16.       Plaintiffs incorporate by reference paragraphs 1 through 14, inclusive, of

  this Second Amended Complaint.

         17.      Paragraph 7.4 of the Agreement, entitled, “Non-Competition; Non-

  Solicitation,” states:

                  (a)   For a period of five (5) years commencing on the
               Closing Date (the "Restricted Period"), Seller shall not, and shall
               not permit any of its Affiliates to, directly or indirectly, (i)

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          engage in or assist others in engaging in any business that
          would be directly or indirectly competitive with any RS Entity
          as of the Closing Date (the "Restricted Business") in areas in
          which any RS Entity conducted business as of the Closing
          Date (the "Territory"); (ii) have an interest in any Person that
          engages directly or indirectly in the Restricted Business in the
          Territory in any capacity, including as a partner, shareholder,
          member, employee, principal, agent, trustee or consultant; or (iii)
          intentionally interfere in any material respect with the business
          relationships (whether formed prior to or after the date of this
          Agreement) between any RS Entity and clients or investors of
          any RS Entity. Notwithstanding the foregoing, Seller may own,
          directly or indirectly, solely as an investment, securities of (i) any of
          the RS Entities acquired by the Seller after the Closing or (ii) any
          Person traded on any national securities exchange if Seller is not a
          controlling Person of, or a member of a group which controls, such
          Person and does not, directly or indirectly, own 5% or more of any
          class of securities of such Person.

              (b)     During the Restricted Period, Seller shall not, and shall
          not permit any of its Affiliates to, directly or indirectly, hire or solicit
          any employee of any RS Entity or encourage any such employee to
          leave such employment or hire any such employee who has left
          such employment, except pursuant to a general solicitation which is
          not directed specifically to any such employees; provided, that
          nothing in this Section 7.4(b) shall prevent Seller or any of its
          Affiliates from hiring (i) any employee whose employment has been
          terminated by a RS Entity or Buyer or (ii) after one (1) year from the
          date of termination of employment, any employee whose
          employment has been terminated by the employee.

              (c)    During the Restricted Period, Seller shall not, and shall
          not permit any of its Affiliates to, directly or indirectly, solicit or
          entice, or attempt to solicit or entice, any clients of or investors
          in any RS Entity or potential clients of or investors in any RS
          Entity with the intention of diverting their business or services from
          any RS Entity or for any other purposes the effect of which is to
          divert their business or services from any RS Entity.

              (d)    Seller acknowledges that a breach or threatened
          breach of this Section 7.4 would give rise to irreparable harm
          to Buyer, for which monetary damages would not be an adequate
          remedy, and hereby agrees that in the event of a breach or a
          threatened breach by Seller of any such obligations, Buyer shall,
          in addition to any and all other rights and remedies that may be
          available to it in respect of such breach, be entitled to equitable
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              relief, including a temporary restraining order, an injunction,
              specific performance and any other relief that may be available
              from a court of competent jurisdiction (without any requirement to
              post bond).

                  (e)     Seller acknowledges that the restrictions contained
              in this Section 7.4 are reasonable and necessary to protect the
              legitimate interests of Buyer and constitute a material
              inducement to Buyer to enter into this Agreement and
              consummate the transactions contemplated by this
              Agreement. In the event that any covenant contained in this
              Section 7.4 should ever be adjudicated to exceed the time,
              geographic, product or service, or other limitations permitted by
              Applicable Law in any jurisdiction, then any court is expressly
              empowered to reform such covenant, and such covenant shall be
              deemed reformed, in such jurisdiction to the maximum time,
              geographic, product or service, or other limitations permitted by
              Applicable Law. The covenants contained in this Section 7.4 and
              each provision hereof are severable and distinct covenants and
              provisions. The invalidity or unenforceability of any such covenant
              or provision as written shall not invalidate or render unenforceable
              the remaining covenants or provisions hereof, and any such
              invalidity or unenforceability in any jurisdiction shall not invalidate or
              render unenforceable such covenant or provision in any other
              jurisdiction.

  (Emphasis added.)

        18.      RealSource is a third-party beneficiary of these provisions of the

  Agreement.

        19.      Mr. Anderson breached the Non-Competition Provisions of the Agreement

  in the following ways, among others, and continues to breach the Agreement:

                 a. By establishing an entity, AKA Partners, LLC, (referred to as “AKA”) to

                     compete directly with RealSource for investment funds for projects –

                     see https://www.aka.partners/msa-bio;

                 b. By soliciting investments from RealSource clients in projects which

                     Paragraph 7(a) defines as "Restricted Business[es]";

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               c. By trading on his experience with RealSource to induce investment in

                    AKA projects to the exclusion of RealSource projects. His “bio”

                    provides in relevant part:

               Mike is the Chairman, founder, and co-owner of AKA
               Partners, the general partner to Greenfill Storage. He was
               the Founder, Co-Owner, former President and Chairmen of
               RealSource companies. While under his leadership
               RealSource built a 950 million dollar cumulative multi-family
               investment portfolio, with over a billion dollars of investment
               transaction, all under self-management and private
               ownership. He sold his interest to his partner of 30 years in
               January 2018.

        (Emphasis added).

               d.      By surreptitiously recruiting two independent contractors employed

        by RealSource to conduct business on behalf of AKA while they continued to

        work for RealSource – Kent Anderson and Michael Howard;

               e.      By surreptitiously securing a copy of RealSource’s Client Lists from

        Michael Howard while Mr. Howard continued to provide services to RealSource;

               f.      By securing RealSource’s marketing materials from Michael

        Howard, while Mr. Howard continued to provide services to RealSource, and

        using those forms to create marketing materials for competing AKA projects;

               g.      By distributing AKA projects on RealSource forms to RealSource’s

        Client Lists via email;

               h.      By distributing the AKA projects via email so that the identities and

        contact information for all of RealSource’s investors is disclosed to everyone in

        the investor pool.



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               i.     By soliciting RealSource’s Client Lists to make investments in AKA

        projects, thereby absorbing investment funds that could be utilized by

        RealSource for its projects;

               j.     By causing confusion amongst RealSource investors regarding the

        source of the solicitation for investment;

               k.     By causing Mike Howard to surreptitiously transfer a project

        RealSource was working on to AKA for closing;

               l.     By encouraging Kent Anderson and Michael Howard to engage in

        acts contrary to their duties to RealSource. See https://www.aka.partners/about;

               m.     By engaging Kent Anderson as VP of Investor Relations for AKA,

        https://www.aka.partners/ka-bio, in which Mr. Kent Anderson reportedly performs

        for AKA the same functions he previously performed for RealSource.

               n.     By engaging Mr. Howard as VP of Acquisitions.

        https://www.aka.partners/mdh-bio in which Mr. Howard reportedly performs for

        AKA the same functions he previously performed for RealSource, and trading on

        RealSource’s reputation and experience to compete with RealSource. Mr.

        Howard’s “bio” on the AKA website states in relevant part:

               Mike has over 30 years' experience in Commercial Real
               Estate. The last 10 years have been with RealSource
               Properties, LLC (www.realsource.net) as a Senior Multifamily
               Acquisitions Analyst. Mike is also a principle in C&H
               Development, LLC which specializes in Self-Storage
               construction and development.

               His experience includes investment feasibility and financial
               analysis, development, as well as sales for both commercial
               and residential projects. He has been actively involved in
               many real estate projects in various capacities, including;

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                Investor, Project Fundraising, Consultant, Project Manager,
                Developer, Asset Acquisitions, and Marketing and Sales.

  (Emphasis added).

         20.    Paragraph 10.10 of the Agreement, entitled, “Specific Performance,”

  states: “The Parties agree that irreparable damage would occur if any provision of this

  Agreement were not performed in accordance with the terms hereof and that the parties

  shall be entitled to specific performance of the terms hereof, in addition to any other

  remedy to which they are entitled at law or in equity.”

         21.    Paragraph 10.9(a) of the Agreement, entitled, “Governing Law; Dispute

  Resolution; Submission to Jurisdiction; Waiver of Jury Trial,” states: This Agreement

  shall be governed by and construed in accordance with the internal laws of the State of

  Utah without giving effect to any choice or conflict of law provision or rule (whether of

  the State of Utah or any other jurisdiction).

         22.    Pursuant to Fed. R. Civ. P. 65, without a bond, Plaintiffs are entitled to a

  temporary restraining order, preliminary injunction and permanent injunction prohibiting

  Mr. Anderson and any of his affiliates, jointly and severally, and other persons who are

  in active concert or participation with them, from competing with RealSource, or

  soliciting RealSource’s clients on such terms as the court deems reasonable.

         23.    To the extent Mr. Anderson or his affiliates have competed with

  RealSource or solicited its clients, Plaintiffs are entitled to damages including

  disgorgement of Mr. Anderson’s or his affiliates’ gross profits, unjust enrichment or a

  reasonable royalty or such other damage theory as may be proven at trial.

                              SECOND CLAIM FOR RELIEF
                         (Against Michael Anderson for Breach of

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                        the Confidentiality Provision of the Agreement)

         24.       Plaintiffs incorporate by reference paragraphs 1 through 14, inclusive,

  and 16 through 22, inclusive, of this Second Amended Complaint.

         25.      Paragraph 7.3 of the Agreement, entitled, “Confidentiality,” states:

               From and after the Closing, Seller shall, and shall cause its
               Affiliates to, hold, and shall use its reasonable best efforts to cause
               its or their respective Representatives to hold, in confidence any
               and all information, whether written or oral, concerning the RS
               Entities, except to the extent that Seller can show that such
               information (a) is generally available to and known by the public
               through no fault of Seller, any of its Affiliates or their respective
               Representatives; or (b) is lawfully acquired by Seller, any of its
               Affiliates or their respective Representatives from and after the
               Closing from sources which are not prohibited from disclosing such
               information by a legal, contractual or fiduciary obligation. . . .

         26.      RealSource is a third-party beneficiary of this provision of the Agreement.

         27.      The confidential information in Paragraph 7.3 of the Agreement includes,

  but is not limited to, RealSource’s Client Lists. The Client Lists include the names and

  email addresses, among other information, of current and past investors in direct

  investment real estate projects.

         28.      Mr. Anderson used the names and email addresses on RealSource’s

  confidential Client Lists to solicit and, in some cases, obtain business from current or

  past RealSource investors.

         29.      Pursuant to Fed. R. Civ. P. 65, Plaintiffs are entitled to a temporary

  restraining order, preliminary injunction and permanent injunction prohibiting Mr.

  Anderson and any of his affiliates, jointly and severally, and other persons who are in

  active concert or participation with them, from any actual or threatened misappropriation



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  of RealSource’s confidential Client Lists on such terms as the court deems reasonable.

  Michael Anderson also should be enjoined from conducting any business with any of

  the individuals on RealSource’s confidential Client Lists.

         30.     To the extent Mr. Anderson or his affiliates have used RealSource’s

  confidential Client Lists to obtain any investments in any of their projects, Plaintiffs are

  entitled to damages, at their election, for disgorgement of Mr. Anderson’s or his

  affiliates’ gross profits, unjust enrichment or, alternatively, to Plaintiffs’ lost profits or

  such other damage theory as may be proven at trial.

                            THIRD CLAIM FOR RELIEF
      (Against Mr. Howard and Kent Anderson for Tortious Interference with the
                  Agreement and Prospective Economic Relations)

         31.     Plaintiffs incorporate by reference paragraphs 1 through 14, inclusive, and

  16 through 22, inclusive, and 24 through 29, inclusive, of this Second Amended

  Complaint.

         32.     Over the years, using degreed economists, RealSource developed a

  market ranking report program tracking thirty different variables in 200+ real estate

  markets across the United States (the “Market Ranking Spreadsheet”). Michael

  Anderson developed the original Market Ranking Spreadsheet.

         33.     The data in the Market Ranking Spreadsheet changes regularly, with

  adjustments to the weight associated with each variable, and the program utilizes the

  data to rank metropolitan statistical areas. Mike Madsen, who has a degree in

  economics, is responsible for gathering the data entered into this spreadsheet for

  RealSource.



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        34.    Kent Anderson and Mr. Howard were not involved in the development of

  the Market Ranking Spreadsheet. Kent Anderson, however, working with Mr. Madsen,

  made some cosmetic adjustments to it and added a few sources of data.

        35.    All rights to the Market Ranking Spreadsheet were transferred to Mr.

  Hanks under the Agreement.

        36.    Kent Anderson assisted in the development of a property analysis and pro

  forma computer software for RealSource, which is an excel spreadsheet (the “Property

  Analysis Spreadsheet”). The employees of RealSource collaborated in the construction

  of the Property Analysis Spreadsheet, which is a working document. RealSource

  modifies this Property Analysis Spreadsheet regularly. 1

        37.    The Property Analysis Spreadsheet is used to evaluate different real

  estate markets. It contains an underwriting model that may be shared with lenders or

  institutional investors. The number of lenders is limited, and these lenders keep the

  Property Analysis Spreadsheet confidential. Institutional investors sign non-disclosure

  agreements to maintain the confidentiality of the Property Spreadsheet Analysis.

  RealSource paid Kent Anderson for work he performed on the Property Analysis

  Spreadsheet in conjunction with other RealSource employees. RealSource owns the

  Property Analysis Spreadsheet.

        38.    RealSource uses reasonable efforts to keep the Market Ranking

  Spreadsheet and the Property Analysis Spreadsheet confidential.



        1
          Kent Anderson claims he developed both the Market Ranking Spreadsheet and
  Property Analysis Spreadsheet. Kent Anderson and Mike Howard v. RealSource
  Brokerage Services, L.C., and Nathan Hanks, filed in the Third Judicial District Court as
  Case No. 190909916.
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        39.     All rights to and interests in the Property Analysis Spreadsheet were

  transferred to Mr. Hanks under the Agreement.

        40.     Kent Anderson has no legitimate ownership interest or claim in the

  Property Analysis Spreadsheet.

        41.     Kent Anderson and Michael Howard shared the Property Analysis

  Spreadsheet and Market Ranking Spreadsheet with Michael Anderson and AKA, and

  the they are now using RealSource’s confidential information, contained in the Property

  Analysis Spreadsheet and the Market Ranking Spreadsheet, for the benefit of AKA.

        42.     Mr. Howard and Kent Anderson were agents of RealSource and were

  under an obligation to keep RealSource’s confidential Client Lists, Market Ranking

  Spreadsheet and Property Analysis Spreadsheet confidential. This duty included but

  was not limited to not sharing those documents with third parties or competitors of

  RealSource.

        43.     While working with RealSource, Mr. Howard and Kent Anderson acquired

  RealSource’s confidential Client Lists, Market Ranking Spreadsheet and Property

  Analysis Spreadsheet. They knew these documents were confidential.

        44.     Mr. Howard and Kent Anderson provided RealSource’s confidential Client

  Lists, Market Ranking Spreadsheet and Property Analysis Spreadsheet to Michael

  Anderson.

        45.     Mr. Howard and Kent Anderson were aware that Michael Anderson

  intended to use RealSource’s confidential Client Lists, Market Ranking Spreadsheet

  and Property Analysis Spreadsheet to compete with RealSource.



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         46.    Michael Anderson used the names and email addresses on RealSource’s

  confidential Client Lists to solicit and, in some cases, obtain business from current or

  past RealSource investors.

         47.    Mr. Howard and Kent Anderson breached their obligations to keep

  RealSource’s confidential Client Lists, Market Ranking Spreadsheet and Property

  Analysis Spreadsheet confidential and enabled Michael Anderson to compete with

  RealSource in breach of the Agreement.

         48.    Mr. Howard and Kent Anderson shared the Market Ranking Spreadsheet

  with Mike Anderson, and the three of them are now using RealSource’s confidential

  information, contained in the Market Ranking Spreadsheet, for the benefit of AKA.

         49.    Mr. Howard’s and Kent Anderson’s breach of their obligation to keep

  RealSource’s confidential Client Lists, Market Ranking Spreadsheet and Property

  Analysis Spreadsheet confidential interfered with RealSource’s existing and prospective

  economic relationships.

         50.    Mr. Howard’s and Kent Anderson’s interference with the Agreement was

  unexcused and unjustified. They did not have RealSource’s consent to disclose the

  confidential Client Lists, Market Ranking Spreadsheet and Property Analysis

  Spreadsheet to any third party or provide any confidential information to Michael

  Anderson to assist Michael Anderson in competing with RealSource.

         51.    Pursuant to Fed. R. Civ. P. 65, Plaintiffs are entitled to a temporary

  restraining order, preliminary injunction and permanent injunction prohibiting Mr.

  Howard and Kent Anderson, and any of their affiliates, jointly and severally, and other



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  persons who are in active concert or participation with them, from retaining or using

  RealSource’s confidential Client Lists, Market Ranking Spreadsheet and Property

  Analysis Spreadsheet or from soliciting RealSource’s clients, on such terms as the court

  deems reasonable.

         52.    To the extent Mr. Howard or Kent Anderson, or their affiliates, have

  competed with RealSource or solicited its clients, or used the Market Ranking

  Spreadsheet or used the Property Analysis Spreadsheet to compete with RealSource,

  Plaintiffs are entitled to damages including disgorgement of Mr. Howard’s, Kent

  Anderson’s or their affiliates’ gross profits, unjust enrichment or a reasonable royalty.

                           FOURTH CLAIM FOR RELIEF
        (Against Mr. Howard and Kent Anderson for Breach of Fiduciary Duty)

         53.    RealSource incorporates by reference paragraphs 1 through 14, inclusive,

  and 16 through 22, inclusive, and 24 through 29,inclusive, and 31 through 51, inclusive,

  of this Second Amended Complaint.

         54.    Mr. Howard and Kent Anderson were agents of RealSource.

         55.    As agents of RealSource, Mr. Howard and Kent Anderson owed

  RealSource fiduciary duties to keep its information confidential, including RealSource’s

  Client Lists, which includes the names and email addresses, among other information,

  of current and past investors in direct investment real estate projects, the Market

  Ranking Spreadsheet and the Property Analysis Spreadsheet. In breach of his fiduciary

  duties, Mr. Howard and Kent Anderson provided to Michael Anderson RealSource’s

  confidential Client Lists, Market Ranking Spreadsheet and Property Analysis

  Spreadsheet. Mr. Howard and Kent Anderson were aware that Michael Anderson


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  intended to use RealSource’s confidential Client Lists, Market Ranking Spreadsheet

  and Property Analysis Spreadsheet to compete with RealSource.

         56.    Mr. Anderson used the names and email addresses on RealSource’s

  confidential Client Lists to solicit and, in some cases, obtain business from current or

  past RealSource investors.

         57.    Mr. Howard’s and Kent Anderson’s breach of their fiduciary obligations to

  keep confidential RealSource’s Client Lists, Market Ranking Spreadsheet and Property

  Analysis Spreadsheet enabled Michael Anderson to compete with RealSource.

         58.    Pursuant to Fed. R. Civ. P. 65, Plaintiffs are entitled to a temporary

  restraining order, preliminary injunction and permanent injunction prohibiting Mr.

  Howard and Kent Anderson, and any of their affiliates, jointly and severally, and other

  persons who are in active concert or participation with them, from retaining or using

  RealSource’s Client Lists or Market Ranking Spreadsheet or Property Analysis

  Spreadsheet, or from soliciting RealSource’s clients, on such terms as the court deems

  reasonable.

         59.    To the extent Mr. Howard or Kent Anderson, or their affiliates, have

  competed with RealSource or solicited its clients, or used the Market Ranking

  Spreadsheet or the Property Analysis Spreadsheet to compete with RealSource,

  Plaintiffs are entitled to damages including disgorgement of Mr. Howard’s and Kent

  Anderson’s gross profits, or their affiliates’ gross profits, unjust enrichment or a

  reasonable royalty or such other relief as may be proven at trial.




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        60.    As a result of their breach of fiduciary duties, RealSource is entitled to

  recover its attorney fees from Mr. Howard and Kent Anderson.

                              FIFTH CLAIM FOR RELIEF
                (All Defendants – Violation of Economic Espionage Act)

        61.     Plaintiffs incorporate by reference paragraphs 1 through 13, inclusive,

  and 15 through 21, inclusive, 23 through 28, inclusive, 30 through 50, inclusive, and 52

  through 59, inclusive, of this Second Amended Complaint.

        62.    RealSource’s confidential Client Lists, Market Ranking and Property

  Analysis Spreadsheets, distribution system and business plan constitute trade secrets

  under the Economic Espionage Act, 18 U.S.C. § 1832(a).

        63.    Based on Paragraph 7.3 of the Agreement, entitled, “Confidentiality,” Mr.

  Hanks has a vested economic interest in RealSource’s confidential trade secrets.

        64.    RealSource uses reasonable efforts to keep its Client Lists confidential

  and to prevent clients, to the extent possible, from knowing the names of other

  RealSource clients.

        65.    While Mr. Howard continued to provide services to RealSource, Mr.

  Howard surreptitiously provided a copy of RealSource’s Client Lists to Mr. Anderson,

  and Mr. Anderson both accepted and used the confidential Client Lists to market AKA

  and related projects to current, former and potential RealSource investors.

        66.    Mr. Anderson used that Client Lists to solicit investments in AKA’s

  projects. AKA is Mr. Anderson’s affiliate. AKA used the Client Lists.




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        67.    The Agreement transferred all rights in the confidential Client Lists, the

  Property Analysis Spreadsheet and the Market Ranking Spreadsheet to RealSource

  and Mr. Hanks.

        68.    While Mr. Howard and Kent Anderson continued to provide services to

  RealSource, or shortly afterwards, they surreptitiously provided a copy of the Property

  Analysis Spreadsheet and the Market Ranking Spreadsheet to Michael Anderson.

  Michael Anderson both accepted, and in conjunction with Mr. Howard and Kent

  Anderson, used the Property Analysis and Market Ranking Spreadsheet for the benefit

  of AKA.

        69.    AKA provided all or a portion of RealSource’s confidential Client Lists to

  GreenFill Woodland. AKA is the manager of GreenFill Wooldand.

        71.    70.    AKA provided all or a portion of RealSource’s confidential Client

  Lists to GreenFill Woodland and used all or a portion of RealSource’s confidential Client

  Lists to solicit investments in GreenFill Woodland Creek Apts, LLC.The preceding acts

  constitute the conversion of a trade secret in violation of the Economic Espionage Act.

        72.    Under the Economic Espionage Act, 18 U.S.C. § 1836(3)(B), Plaintiffs are

  entitled to damages for actual loss caused by the misappropriation of the trade secret

  and damages for any unjust enrichment caused by the misappropriation of the trade

  secret that is not addressed in computing damages for actual loss or such other

  damage theory as may be proven at trial.




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           73.      Because the trade secrets were willfully and maliciously misappropriated,

  RealSource is entitled to exemplary damages in an amount not more than two times the

  amount of the damages awarded under the preceding paragraph of this Complaint.

           74.      Further, and in addition to damages under the Economic Espionage Act,

  18 U.S.C. § 1836(3)(A)(i), pursuant to Fed. R. Civ. P. 65, RealSource is entitled to a

  temporary restraining order, preliminary injunction and permanent injunction prohibiting

  Mr. Anderson, AKA, Mr. Howard and Kent Anderson together with any of their affiliates,

  jointly and severally, and other persons who are in active concert or participation with

  them, from any actual or threatened misappropriation of Plaintiffs’ trade secrets on such

  terms as the court deems reasonable. Michael Anderson also should be enjoined from

  conducting any business with any of the individuals in RealSource’s confidential Client

  Lists.

           WHEREFORE, Plaintiffs request the following relief against Defendants as

  follows:

           A. On the First Claim for Relief, pursuant to Fed. R. Civ. P. 65, Plaintiffs are

                 entitled to a temporary restraining order, preliminary injunction and permanent

                 injunction prohibiting Mr. Anderson, and any of his affiliates, jointly and

                 severally, and other persons who are in active concert or participation with

                 them, from competing with RealSource or soliciting RealSource’s clients on

                 such terms as the court deems reasonable.

           B. On the First Claim for Relief, to the extent Mr. Anderson or his affiliates have

                 competed with RealSource or solicited its clients, for a judgment in favor of



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           Plaintiffs for the disgorgement of Mr. Anderson’s or his affiliates’ gross profits,

           unjust enrichment, a reasonable royalty or to Plaintiffs’ lost profits or such

           other damage theory as may be proven at trial.

        C. On the Second Claim for Relief, pursuant to Fed. R. Civ. P. 65, Plaintiffs are

           entitled to a temporary restraining order, preliminary injunction and permanent

           injunction prohibiting Mr. Anderson and any of his affiliates, jointly and

           severally, and other persons who are in active concert or participation with

           them, from any actual or threatened misappropriation of RealSource’s

           confidential Client Lists on such terms as the court deems reasonable.

           Michael Anderson also should be enjoined from conducting any business with

           any of the individuals in RealSource’s confidential Client Lists.

        D. On the Second Claim for Relief, to the extent Mr. Anderson or his affiliates

           have used RealSource’s confidential Client Lists or models to obtain any

           investments in any AKA projects or projects for related entities, Plaintiffs are

           entitled to damages, at their election, including disgorgement of Mr.

           Anderson’s and his affiliates’ gross profits, unjust enrichment, a reasonable

           royalty or to Plaintiffs’ lost profits or such other damage theory as may be

           proven at trial.

        E. On the Third Claim for Relief, pursuant to Fed. R. Civ. P. 65, Plaintiffs are

           entitled to a temporary restraining order, preliminary injunction and permanent

           injunction prohibiting Mr. Howard and Kent Anderson, and any of their

           affiliates, jointly and severally, and other persons who are in active concert or



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           participation with them, from using or distributing RealSource’s clients list and

           Market Ranking and Property Analysis Spreadsheets on such terms as the

           court deems reasonable.

        F. On the Third Claim for Relief, for a judgment in favor of Plaintiffs and against

           Mr. Howard and Kent Anderson, jointly and severally, for the disgorgement of

           Mr. Howard’s, Kent Anderson’s or their affiliates’ gross profits from using or

           distributing RealSource’s confidential Client Lists, Market Ranking

           Spreadsheet and Property Analysis Spreadsheet in an amount to be proven

           at trial or such other damage theory as may be proven at trial, including a

           reasonable royalty.

        G. On the Fourth Claim for Relief, pursuant to Fed. R. Civ. P. 65, Plaintiffs are

           entitled to a temporary restraining order, preliminary injunction and permanent

           injunction prohibiting Mr. Howard and Kent Anderson, and any of their

           affiliates, jointly and severally, and other persons who are in active concert or

           participation with them, from using or distributing RealSource’s confidential

           Client Lists, Market Ranking Spreadsheet and Property Analysis Spreadsheet

           on such terms as the court deems reasonable.

        H. On the Fourth Claim for Relief, to the extent Mr. Howard or Kent Anderson, or

           their affiliates, have competed with RealSource or solicited its clients, for a

           judgment in favor of Plaintiffs and against Mr. Howard and Kent Anderson,

           jointly and severally, for the disgorgement of Mr. Howard’s, Kent Anderson’s




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           or their affiliates’ gross profits in an amount to be proven at trial or such other

           damage theory as may be proven at trial, including a reasonable royalty.

        I. On the Fifth Claim for Relief, for a judgment in favor of Plaintiffs and against

           Defendants, jointly and severally, as follows:

               a. For damages for actual loss caused by the misappropriation of the

                  trade secret and damages for any unjust enrichment caused by the

                  misappropriation of the trade secret that is not addressed in computing

                  damages for actual loss or such other damage theory as may be

                  proven at trial, including a reasonable royalty.

               b. Because the trade secret was willfully and maliciously misappropriated,

                  for a judgment in favor of RealSource for exemplary damages in an

                  amount not more than two times the amount of the damages awarded

                  under paragraph 41 of this Complaint.

               c. Further, and in addition to damages, under the Economic Espionage

                  Act, 18 U.S.C. § 1836(3)(A)(i), and pursuant to Fed. R. Civ. P. 65, for a

                  temporary restraining order, preliminary injunction and permanent

                  injunction prohibiting Mr. Anderson, Mr. Howard and Kent Anderson,

                  and their affiliates, jointly and severally, and other persons who are in

                  active concert or participation with them, from any actual or threatened

                  misappropriation of RealSource’s trade secrets on such terms as the

                  court deems reasonable. Michael Anderson also should be enjoined




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                    from conducting any business with any of the individuals in

                    RealSource’s confidential Client Lists.

         J. On all Claims for Relief, for a judgment in favor of Plaintiffs and against

             Defendants for all of Plaintiffs’ attorney fees and costs incurred in this action.

         K. For a judgment in favor of Plaintiffs and against Defendants for such other

             and further relief as the Court may deem appropriate.

                                     JURY TRIAL DEMAND

         Pursuant to Fed. R. Civ. P. 38(b) & (c), on the Third, Fourth and Fifth Claims for

  Relief, Plaintiffs demand a jury trial on any issue triable of right by a jury.

         Dated: November 23, 2022.

                                              LARSEN & RICO, PLLC

                                              /s/ Mark A. Larsen
                                              _________________________________
                                              Mark A. Larsen
                                              Lisa C. Rico
                                              Attorneys for Plaintiffs




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                               CERTIFICATE OF SERVICE

         I certify that on November 23, 2022, a true and correct copy of the foregoing
  proposed Third Amended Complaint (Jury Trial Demanded) was served upon the
  following by email:

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                                           /s/ Mark A. Larsen
                                           ______________________________




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